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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
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     Assistant Federal Defender
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     801 I Street, 3rd Floor
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 5
 6   Attorney for Defendant
     AUDREY RENEE BELL
 7
 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. 2:07-cr-047
                                     )
13                  Plaintiff,       )     STIPULATION AND ORDER CONTINUING
                                     )     CASE AND EXCLUDING TIME
14        v.                         )
                                     )     Date: July 31, 2007
15   AUDREY RENEE BELL,              )     Time: 9:30 a.m.
                                     )     Judge: Hon. Lawrence K. Karlton
16                  Defendants.      )
                                     )
17   _______________________________ )
18
19        IT IS HEREBY STIPULATED by and between Assistant United States
20   Attorney Matthew Stegman, counsel for Plaintiff, Assistant Federal
21   Defender Jeffrey L. Staniels, counsel for Audrey Bell, Joseph Meir
22   Ribakoff, counsel for Sharon Denese Hubbs, and Donald P. Dorfman,
23   counsel for Terri Louise Ross, that the status conference scheduled for
24   July 31, 2007, be vacated and the matter continued for further status
25   conference on this Court’s criminal calendar on September 11, 2007, at
26   9:30 a.m.
27        This continuance is sought be the defense to permit continued
28   investigation, review of documentary evidence, and other on-going
              Case 2:07-cr-00047-TLN Document 43 Filed 07/30/07 Page 2 of 2


 1   defense preparation.
 2        IT IS FURTHER STIPULATED that time for trial under the Speedy
 3   Trial Act continue to be excluded pursuant to 18 U.S.C. § 3161(h)(8)(A)
 4   & (B)(ii) & (iv), Local Codes T-2 & T-4.
 5        IT IS SO STIPULATED.
 6
 7   Dated:    July 25, 2007                    /s/ Matthew Stegman
                                               MATTHEW STEGMAN
 8                                             Assistant U.S. Attorney
                                               Counsel for Plaintiff
 9
10
     Dated:    July 25, 2007                    /S/ Jeffrey L. Staniels
11                                             JEFFREY L. STANIELS
                                               Assistant Federal Defender
12                                             Attorney for Defendant
                                               AUDREY RENEE BELL
13
14   Dated:    July 25, 2007                    /S/ Joseph Meir Ribakoff
                                               Attorney for Defendant
15                                             SHARON DENESE HUBBS
16
17   Dated:    July 25, 2007                    /S/ Donald P. Dorfman
                                               Attorney for Defendant
18                                             TERRI LOUISE ROSS
19
20                                        O R D E R
21
          IT IS SO ORDERED.
22
                                   By the Court,
23
24
25
     Dated:    July 30, 2007
26
27
28

     Stipulation and Order Continuing
     Case And Excluding Time                  -2-
